






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00604-CR






William Franklin Green, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT

NO. D-1-DC-09-300188, HONORABLE CHARLES F. BAIRD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	A jury found William Green guilty of burglary of a habitation.  See Tex. Penal Code
Ann. § 30.02(a), (c) (West 2003) (defining burglary of habitation).  Afterwards, the district court
held a punishment hearing.  During the hearing, Green pleaded "not true" to two prior felony offense. 
See id. § 12.42(d) (West Supp. 2009) (elevating permissible punishments due to prior convictions). 
Ultimately, the district court determined that the prior allegations were true and imposed a
punishment of twenty-five years' imprisonment.  Shortly after the punishment was assessed, Green
appealed the district court's judgment.  

	On appeal, Green's attorney has filed a brief asserting that the appeal is frivolous and
without merit and a motion seeking leave to withdraw as Green's counsel.  Because the brief
presents a professional evaluation of the record and demonstrates that there are no arguable grounds
to be advanced, the brief meets the requirements articulated in Anders v. California, 386 U.S. 738,
743-44 (1967).  See Penson v. Ohio, 488 U.S. 75, 80 (1988); High v. State, 573 S.W.2d 807, 811-13
(Tex. Crim. App. 1978).  Further, Green's attorney sent Green a copy of the Anders brief and advised
him that he had the right to examine the record and file a pro se brief.  See Anders, 386 U.S. at 744;
Jackson v. State, 485 S.W.2d 553, 553 (Tex. Crim. App. 1972).  Green has not filed a pro se brief.

	We have considered the record and the brief filed by Green's attorney and agree that
the appeal is frivolous and without merit.  After reviewing the evidence presented to the jury and the
procedures that were observed, we find nothing in the record that might arguably support the appeal. 
Accordingly, we grant Green's attorney's motion to withdraw and affirm Green's conviction. (1)    



					__________________________________________

					David Puryear,  Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   August 19, 2010

Do Not Publish
1.   No substitute counsel will be appointed.  Should Green wish to seek further review of his
case by the court of criminal appeals, he must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App.
P. 68-79 (governing proceedings in Texas Court of Criminal Appeals).  Any petition for
discretionary review must be filed within thirty days from the date of either this opinion or the date
this Court overruled the last timely motion for rehearing filed.  See id. R. 68.2.  The petition must
be filed with this Court, after which it will be forwarded to the court of criminal appeals along with
the rest of the filings in this case.  See id. R. 68.3, 68.7.  Any petition for discretionary review should
comply with rules 68.4 and 68.5 of the rules of appellate procedure.  See id. R. 68.4, 68.5.    


